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                                         UNITED STATES DISTRICT COURT
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7                                      CENTRAL DISTRICT OF CALIFORNIA
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      INDEPENDENT LIVING CENTER OF )                                      CASE NO.: CV 12-0551 FMO (PJWx)
13
      SOUTHERN CALIFORNIA, et al.      )
14                                     )                                  [PROPOSED] JUDGMENT
                    Plaintiffs,        )                                  PURSUANT TO SETTLEMENT
15
      vs.                              )                                  AGREEMENT BY AND BETWEEN
16                                     )                                  CRA/LA, A DESIGNATED LOCAL
17
      CITY OF LOS ANGELES,             )                                  AUTHORITY, SUCCESSOR AGENCY
      CALIFORNIA, et al.               )                                  TO THE COMMUNITY
18                                     )                                  REDEVELOPMENT AGENCY OF
19                 Defendants.         )                                  THE CITY OF LOS ANGELES, AND
      ________________________________ )                                  PLAINTIFFS
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      4821-0731-7070.1                                                   1

               Independent Living Center of Southern California, et al v. City of Los Angeles, et al., Case No. CV 12-0551 SJO (PJWx)

                                                            [PROPOSED] JUDGMENT
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1
                         WHEREAS, the CRA/LA, a Designated Local Authority, a defendant in this
2
      action and the successor agency to the Community Redevelopment Agency of the City of
3
      Los Angeles (the “CRA”), and the Independent Living Center of Southern California
4
      (“ILCSC”), the Fair Housing Council of the San Fernando Valley (“FHC”) and
5
      Communities Actively Living Independent and Free (“CALIF”) (collectively referred to
6
      herein as “Plaintiffs”) have entered into a Settlement Agreement and Release of Claims,
7
      attached as Exhibit 1, which fully resolves claims asserted by Plaintiffs against the CRA;
8
      and
9
                         WHEREAS, the Court has jurisdiction over the subject matter of this action,
10
      the Plaintiffs, the CRA, and the Settlement Agreement; and
11
                         WHEREAS, upon consideration, the Court finds the Settlement Agreement
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      to be fair, reasonable, and adequate.
13
                         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
14
      DECREED AS FOLLOWS:
15
                         1.        For the purposes of this Judgment, the Court adopts the terms and
16
      definitions set forth in the Settlement Agreement attached as Exhibit 1, and all terms of
17
      the Settlement Agreement are incorporated herein by reference.
18
                         2.       This Judgment Pursuant to Settlement completely resolves this civil
19
      action between the CRA and Plaintiffs. The claims against the City of Los Angeles were
20
      previously resolved by Judgment Pursuant to Settlement Agreement by and between City
21
      of Los Angeles and Plaintiffs (Doc. 532, filed August 4, 2016). This does not resolve this
22
      action between Plaintiffs and the remaining nominal defendants.
23
                         3.       In accordance with the terms of the Settlement Agreement, this Court
24
      reserves exclusive and continuing jurisdiction to interpret and enforce the terms of the
25
      Settlement Agreement during the Settlement Term, and to resolve any disputes that may
26
      arise during the Settlement Term.
27

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      4821-0731-7070.1                                                   2

               Independent Living Center of Southern California, et al v. City of Los Angeles, et al., Case No. CV 12-0551 SJO (PJWx)

                                                            [PROPOSED] JUDGMENT
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                         4.       The court determines that there is no reason to delay entry of this
2
      Judgment Pursuant to Settlement Agreement By and Between the CRA and Plaintiffs.
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4
                         IT IS SO ORDERED and ADJUDGED
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7
      Dated: __________                                         __________________________________
8                                                               The Hon. Fernando M. Olguin
9                                                               UNITED STATES DISTRICT JUDGE
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      Attachment: Exhibit 1

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      4821-0731-7070.1                                                   3

               Independent Living Center of Southern California, et al v. City of Los Angeles, et al., Case No. CV 12-0551 SJO (PJWx)

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